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5                                    UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON AT SEATTLE
6

 7   LOCALS 302 AND 612 OF THE
     INTERNATIONAL UNION OF                                                          NO.
8    OPERATING ENGINEERS
     CONSTRUCTION INDUSTRY HEALTH
9    AND SECURITY FUND; LOCALS 302                                                   COMPLAINT TO COLLECT TRUST
     AND 612 OF THE INTERNATIONAL                                                    FUNDS AND UNION DUES
10
     UNION OF OPERATING ENGINEERS-
11   EMPLOYERS CONSTRUCTION
     INDUSTRY RETIREMENT FUND;
12   WESTERN WASHINGTON OPERATING
     ENGINEERS-EMPLOYERS TRAINING
13   TRUST FUND; and LOCAL 302
     iNTERNATIONAL UNION OF
14
     OPERATiNG ENGINEERS,
15
                                          Plaintiffs,
16
                             V.
17
     509 EXCAVATiNG LLC, a Washington
18
     limited liabiiity company,
19
                                          Defendant.
20

21                                                                     COUNT ONE
22               Plaintiff Operating Engineers-Employers Welfare, Pension, and Training Trust

23
     Funds allege:
24

25


26   COMPLAINT TO COLLECT TRUST FUNDS
     AND UNION DUES                                                                          Reid, McCarthy, Ballew & Leahy, L.L.P.
     Page 1 of 6                                                                                               ATTORNEYS AT LAW
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1

                    They are unincorporated associations operating as Trust Funds pursuant to
2

3        Section 302 of the Labor Management Relations Act of 1947, as amended, under the

4        respective names of Locals 302 and 612 of the International Union of Operating

5        Engineers-Construction Industry Health & Security Fund, Locals 302 and 612 of the

6
         international Union of Operating Engineers-Employers Construction Industry
7
         Retirement Fund, and Western Washington Operating Engineers-Employers Training
8
         Fund, to provide medical, retirement, and training benefits to eliglbie participants.
9
         Plaintiffs' offices are iocated in King County, Washington.
10

11                                                                                  II.


12                  The Court has Jurisdiction over the subject matter of this action under Section

13       502 (e)(l) and (f) of the Employee Retirement Income Security Act of 1974
14
         ("ERISA"), 29 U.S.C. §1132 (e)(l) and (f) and under Section 301 (a) of the Taft-
15
         Hartley Act, 29 U.S.C. §185 (a).
16
                                                                                   III.
17
                    Venue is proper in this district under Section 502 (e)[2) of ER!SA, 29 U.S.C.
18

19
          '1132 (e)(2), because Plaintiff Trusts are administered in this district.

20                                                                                 IV.

21                   Defendant is a Washington limited liability company.

22                                                                                 V.

23
                     Defendant is bound to a collective bargaining agreement with Local 302 of the
24
         International Union of Operating Engineers (hereinafter "Local"), under which
    25

26       COMPLAiNT TO COLLECT TRUST FUNDS
         ANDUNiON DUES                                                                         Reid, McCarthy, Ballew & Leahy, L.L.P.
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         Page 2 of 6
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     Defendant is required to promptiy and fuliy report for and pay monthly contributions
1

     to the Pialntiff Trusts at varying, specified rates for each hour of compensation
2

3    Defendant pays to its employees who are members of the bargaining unit

4    represented by the Local (such bargaining unit members are any of Defendant's part

5    time or full time employees who perform any work task covered by the Defendant's

6
     iabor contract with the Local, whether or not those employees actually join the
7
     Local).
8
                                                                               VI.
9
                 Defendant accepted Piaintiffs' respective Agreements and Declarations of
10

II   Trust and thereby agreed to pay to each of Plaintiff Trusts liquidated damages equa!

12   to twelve percent (12%) of ali delinquent and delinquently paid contributions, or

13   $25.00 per month, whichever sums are greater, and twelve percent (12%) annual

14
     interest accruing upon each monthly contribution delinquency from the first day
15
     thereof until fully paid, as we!) as all attorneys fees and costs, including audit
16
     expenses if applicable, which Plaintiffs incur in collection of Defendant's unpaid
17
     obiigations.
18

                                                                              VII.
19

20               Defendant submitted remittance reports for the months of June 2019 and July

21   2019 for Account Nos. 37186 and 37187, but failed to pay contributions for those

22   months. The tota! contributions owed for said months are $61,716.16. Based on

23
     Defendant's unpaid contributions for the months of June 2019 and July 2019 for
24
     Account Nos. 37186 and 37187, Defendant is further obligated for liquidated
25

26   COMPLAINT TO COLLECT TRUST FUNDS
     AND UNION DUES                                                                        Reid, McCarthy, Ballew & Leahy, L.L.P.
                                                                                                            ATTORNEYS AT LAW
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                                                                                                TELEPHONE; (206) 2K5-CHfrt • FAX: (20f>) 2«^H92'i
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         damages in the amount of $7,424.54, as well as interest accruing and attorneys fees
t
         and costs.
2

3                                                                                 viii.

4                    For Account No. 37185, for the employment period June 2019 forward, and

5        for Account Nos. 37186 and 37187 for the employment period August 2019 forward,

6
         Defendant failed to promptiy report for and/or pay to Plaintiff Trusts ail amounts due
7
         them. as hereinabove set forth, for work performed by Defendant's employees, and
8
         only Defendant's records contain the detailed information necessary to an exact
9
         determination of the extent of Defendant's unpaid obiigations.
10


11
                                                                               COUNT TWO
12
                     Plaintiff, Local 302 of the International Union of Operating Engineers
13
         (hereinafter "Local"), alleges:
14
                                                                                     I.
f5


16
                     it is a labor organization with its principal offices in King County and brings

17       this action pursuant to Section 301 of the Labor Management Reiations Act of 1947,

18       as amended.

19

20

2t                   Defendant is a Washington limited liability company.

22                                                                                  III.

23                   Defendant entered into an agreement with the Local, whereunder Defendant

    24
         agreed to deduct from the periodic paychecks of its employees who are represented
    25

    26   COMPLAINT TO COLLECT TRUST FUNDS
         AND UNION DUES                                                                         Reid, McCarthy, Ballew & Lcahy, L.L.R
                                                                                                                ATTORNEYS AT LAW
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     by the Local, specified amounts for each hour of compensation Defendant pays to
1

     those employees and to remit the total thus deducted each month to the Plaintiff
2

3    Local no iater than the fifteenth (15th) of the month immediately following the month

-1   in which such deductions were made.

5                                                                               iV.

6
                 Defendant submitted remittance reports for the months of June 2019 and July
 7
     2019 for Account Nos. 37186 and 37187, but failed to pay Local the amounts due for
8
     those months. The total amounts owed for dues for said months are $3,343.54.
9
                                                                                V.
10

11               For Account No. 37185, for the employment period June 2019 forward, and

12   for Account Nos. 37186 and 37187 for the employment period August 2019 forward,

13   Defendant failed to promptly report for and/or pay to the Local the total sum deducted

14
     from the periodic paychecks of Defendant's employees who are represented by the
15
     Local.
16
                 WHEREFORE, Piaintiffs pray the Court as follows:
17
     1. That the Defendant be compelled to render a monthly accounting to the
18

                 Plaintiffs' attorneys and set forth in it the names and respective sociai security
19

20               numbers of each of the Defendant's employees who are members of the

21               bargaining unit represented by the Local, together with the totai monthiy hours

22               for which the Defendant compensated each of them, for Account No. 37185

23
                 for the employment period June 2019 to the date of service of this Complaint
24
                 to Collect Trust Funds and Union Dues and for Account Nos. 37186 and
25

26   COMPLAINT TO COLLECT TRUST FUNDS
     AND UNION DUES                                                                         Reid, McCarthy, Ballew & Leahy, L.L.P.
     Page 5 of 6                                                                                            ATTORNHYS AT LAW
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                 37187 for the employment period August 2019 to the date of service of this
I

                 Complaint to Collect Trust Funds and Union Dues and for whatever amounts
2

3                may thereafter accrue.


4    2. That plaintiff Trust Funds be granted Judgment against Defendant under

5                COUNT ONE for:
6
                             a, Ali delinquent contributions due;
7
                             b. All liquidated damages and pre-judgment interest due;
8
                             c.          All attorneys fees and costs incurred by Plaintiffs in connection
9
                                         with Defendant's unpaid obligations; and
10


11                           d.          Such other and further relief as the court may deem just and

12                                       equitable.

13   3.          That Plaintiff Trusts be granted Judgment against Defendant under COUNT
14
                 TWO for:
15
                             a. Ail amounts owing to it by the Defendant; and
16
                             b. Such other and further relief as the court may deem just and
17                                 equitable.

18

19
                 DATED this ^^ day of September, 2019.
20

21
                                                                              REID, MCCARTHY, BALLEW & LEAHY,
22                                                                            L.L.P.


23

24
                                                                              Russell J. Refd,^SBA#2560
                                                                              Attorney for Plaintiffs
25

26   COMPLAINT TO COLLECT TRUST FUNDS
     AND UNION DUES                                                                         Reid, McCarthy, Ballew & Leahy, L.L.P.
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